                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

APRIL ADRIANA FOX,

                Plaintiff,                    Case No. 16-cv-01467
                                              Hon. Robert J. Jonker
vs.

BLUE CROSS BLUE SHIELD OF
MICHIGAN LONG TERM DISABILITY
PROGRAM,

                Defendant.
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                         DEFENDANT’S MOTION FOR JUDGMENT
                        BASED ON THE ADMINISTRATIVE RECORD

         This an ERISA benefit denial case. Pursuant to Wilkins v. Baptist Healthcare Systems,

Inc., 150 F.3d 609 (6th Cir. 1998), and this Court’s Case Management Order (Doc. #11), this

matter is to be determined upon the parties’ cross motions for judgment. Therefore, Defendant

Blue Cross Blue Shield of Michigan Long Term Disability Program (“Defendant”) through its

attorneys Hickey Hauck Bishoff & Jeffers, PLLC, hereby moves for judgment based on the

administrative record. The grounds supporting Defendant’s Motion are set forth in the attached

Brief.
                           Respectfully submitted,

                           /s/Benjamin W. Jeffers
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DATED:   August 31, 2017




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                 DEFENDANT’S BRIEF IN SUPPORT OF
       MOTION FOR JUDGMENT BASED ON ADMINISTRATIVE RECORD
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       Should the Court enter judgment in Defendant’s favor on an ERISA program’s denial of

benefits where there was an exhaustive review of medical records and other information, the

disability claim is premised largely on subjective, self-reported symptoms that are not supported

by physician evaluations and objective evidence, and the Plaintiff was given the benefit of the

doubt throughout the internal appeal process?



       Plaintiff answers:            No

       Defendant answers:            Yes




                                                iv
I.     INTRODUCTION

       This is an action under the Employee Retirement Income Security Act, 29 U.S.C. § 1132

et seq. (“ERISA”) to challenge a denial of long term disability benefits. Plaintiff April Fox

(“Plaintiff” or “Fox”) stopped working in early 2013 from non-party Blue Cross Blue Shield of

Michigan (“BCBSM”), claiming a disability due to migraines and fibromyalgia. The applicable

LTD program initially began paying monthly disability benefits based on limited information,

and did so subject to the receipt of additional data to support the claim. Plaintiff had the burden

to persuade the program decision-makers through objective medical evidence that she had a

disabling mental or physical condition that prevented her from working in her job.

       After multiple internal reviews that considered extensive medical records and the

opinions or treatment of approximately twenty medical professionals, the program ultimately

concluded that Plaintiff had failed to satisfy her burden of proof. Her history of self-reporting

vague symptoms of pain and other health problems, simply did not establish that these issues

constituted a disability that prevented her from working at her job as a Customer Service

Representative for BCBSM. The job entailed answering phone calls and processing customer

inquiries. Indeed, her migraines date back to 2001, when she first began to work at BCBSM, and

more than a decade before she claimed to be disabled. And she did not prove that any purported

changes in her medical history and alleged increases in her pain as of 2013 were attributable to a

disability. According to the reviewing physicians, Plaintiff had developed a serious opioid

dependency as of 2013 and the opioids themselves caused many of the symptoms that Plaintiff

claimed were debilitating. At the very least, the massive amounts of narcotics that her treating

physician was injecting her with for years made it impossible for her to prove that her symptoms




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were the result of underlying, and debilitating medical conditions. Plaintiff’s physician, who

administered these injections, is alone among physicians in opining that she is disabled.

        The Court’s role is to determine whether the benefit denial was arbitrary and capricious

in light of the overall administrative record and Plaintiff’s burden of proof. This standard of

review does not permit the Court to undertake a de novo factual inquiry, nor to decide whether it

would have reached a different result had it been in the program administrator’s shoes during the

three internal reviews. Viewed through the lens of this standard of review and in relation to

Plaintiff’s underlying burden of proof, it is clear that Plaintiff cannot prevail in this case. The

program administrators looked at all the objective medical evidence and made a rational decision

in light of the program requirements. That Plaintiff disagrees with the conclusions they reached

merely establishes that reasonable people can disagree on this issue. But pointing out the

existence of that disagreement does not satisfy Plaintiff’s burden.

        For these reasons, the Court should grant Defendant’s Motion for Judgment on the

Administrative Record.

II.     BACKGROUND

        In the following section, we identify the parties and Fox’s claim, summarize Fox’s

burden of proof under the applicable Program documents, and explain the basic procedural

history.1

        A.     The parties and the basics of Fox’s claim.

        Plaintiff worked for non-party Blue Cross Blue Shield of Michigan from May 14, 2001,

through January 7, 2013. See Ex. A, LTD-2 Form, FOX_AR_000516 - 000523. She was a

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  On the record at the status conference on March 13, 2017, Defendants requested that the
Administrative Record be filed under seal. The Court denied the request, and Plaintiff herself
has not moved for any similar relief. Thus, although Defendants have redacted personal
identifying information from documents, the Administrative Record is otherwise being lodged in
the ordinary course, including documents attached to this Motion, as ordered by the Court.
                                                 2
Customer Service Representative, with job duties she described as taking inquiries by phone,

working on the computer, and handling customer service inquiries. Id. at p.4.

       Defendant is the Blue Cross Blue Shield of Michigan LTD Program.          For purposes of

this lawsuit, Defendant assumed the rights and liabilities of a LTD program called the Blue Cross

Blue Shield Association LTD Program (“Program”), of which BCBSM participated through the

end of 2016. The Program administered LTD benefits for employees of multiple “Blues” entities

throughout the Country, including for BCBSM employees like Ms. Fox. The Program was a

self-funded arrangement.

       Claiming a disability due to migraines and fibromyalgia pain, Plaintiff stopped working

at BCBSM as of January 7, 2013, and then applied for long term disability benefits in June

2013.2 See Ex. B, May 23, 2016, Final Denial Letter, p. 1, FOX_AR_000267-000285 (“Final

Letter”).   The Program initially approved her request for disability status for a period

commencing July 1, 2013, subject to receipt of supporting medical information. Id., and Ex. C,

October 7, 2013, Letter, FOX_AR_006414-006419. The Program determined that Fox had

monthly earnings of $4,152.17 when she stopped working, and a 60% benefit level, for a

monthly gross LTD benefit of $2,491.30. Ex. C, October 7, 2013, Letter, FOX_AR_006416.

The Program began paying her this benefit amount. Subsequently, as explained below in more

detail, the Program decided to discontinue benefits after finding that she could not satisfy her

continuing burden to prove a disability.


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  Fox is under the age of forty (40), and so the value of the claim on a going forward basis could
be substantial. But the question before the Court is the threshold claim denial decision, not what
amount Fox theoretically could receive at any point if the decision were reversed. Obviously, the
question of benefit amounts is mooted if the denial is upheld and, in any event, the precise
benefit amount that a claimant may receive will vary depending upon a number of factors,
including whether they have Social Security Disability benefits, work status, age, availability of
a pension, and when they began work with their employer. Ex. E, Summary Description, pp. 84-
85, FOX_AR_000096-000134.
                                                3
       Ms. Fox’s former employer (BCBSM) did not take part in the decision-making process.

Rather, claim decisions were made by representatives working on behalf of the Association’s

National Employee Benefits Committee (“NEBC”), which served as the ERISA program

administrator and named fiduciary for employee benefit programs of the independent Blues

companies that elect to utilize the manager services offered by the Association through the

National    Benefits   Administration    Department     (“NEBA”).     Cooney     Dec.,    Ex.   D,

FOX_AR_007338-7353. The Administrative Record on internal appeals (“Fox AR”) was

developed and compiled by individuals working on behalf of the NEBC. Id.

       B.      Plaintiff’s burden of proof under the Program documents.

       Section 3.1 of the LTD Program documents provide that a participant must convince the

Program with “objective medical evidence” that he or she is unable to perform work up to the

applicable Disability standard. Ex. F, Program Documents, ¶3.1 p. 11, FOX_AR_000001 -

000068. Under the default Disability standard, a participant “must establish to the satisfaction of

NEBA or NEBC, as the case may be, that he or she is wholly prevented, by reason of mental of

physical disability, from engaging in any occupation comparable to the occupation in which he

or she was engaged for the Participating Employer at the time of, or immediately prior to the

claimed onset of his or her Disability.” Ex. F, Program Documents, ¶3.1(a) p. 11,

FOX_AR_000001-000068.

       The participant’s burden is amplified and further explained in Section 3.2 of the Program

documents. Ex. F, ¶3.2 p. 13. Section 3.2 initially explains again that, overall and generally, the

participant has the general burden of proof. Id. at ¶3.2(a). And then specifically, the participant

has the burden to persuade the Program through objective medical and other evidence that (i) he

or she has a disabling mental or physical condition, (ii) he or she cannot perform work described

in the applicable performance or occupational standard, and (iii) there is a causal connection
                                                4
between the claimed disability and their inability to work. Ex. F, ¶3.2(b)(i-iii), p. 14. The burden

of proof in the applicable Program documents routinely was highlighted for Fox and her counsel

during the appeal process. See e.g., Ex. B, Final Letter, pp.16-18 (citing to the “Relevant

Program Provisions”).

       Finally, a claimant’s burden of proof as to any disabled status is continuing even if the

Program initially accepts a claim. Under Section 4.2(c)(iv), if NEBA or NEBC, as the case may

be, determines that the participant is no longer disabled or is otherwise eligible for benefits, all

further benefits shall cease effect with the first day of the month in which they made such a

determination. Ex. F, Program Documents, ¶4.2(c)(iv), p. __, FOX_AR_000001-000068.

       C.      The Program administrators conducted three internal reviews of Plaintiff’s
               claim.

       After the initial decision in the Summer of 2013 to pay disability benefits, which gave her

the benefit of the doubt based on limited data, the Medical Review Committee (“MRC”) began

to review additional medical records and other information to evaluate a continued determination

of a disability. Ex. B, Final Letter. As of February 5, 2014, the MRC believed Fox’s conditions

should be treatable and that she could return to work. Id; Ex. G, February 5, 2014 MRC Letter,

FOX_ AR_006374-006383. The medical evidence did not support a disability determination for

migraines and fibromyalgia. Id.

       A source of concern, however, was information indicating that Fox had a serious problem

with opioids. Ex. G, February 5, 2014 MRC Letter, FOX_AR_006374-006383. For years she

had been receiving Demerol or Nubain injections multiple times a week, along with oral doses of

Vicodin and Norco. Id. p. 2, Ex. H, FOX_AR_006310 (showing 126 Demerol and Phenergan

injections just from April 2014 through September 2015, and 99 Nubain and Phenergan

injections from April 2015 through March 2016). This substantial history of opioid use begged

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the medical question of whether that itself caused the pain conditions that plaintiff claimed

prevented her from working and not migraines or fibromyalgia, which she claimed was her

“disability.” As noted above, the record did not support finding a disability, but the MRC

nonetheless advised her that it would continue her disability status through May 31, 2014, and

then would consider maintaining benefits thereafter if she participated in an opioid detoxification

program that would allow the professionals to rule out opioid dependency as the cause of her

alleged condition. Id.; see also Ex. B, Final Letter.

       Fox refused to attend a detoxification program and thereby prevented the MRC from

assessing the impact of her chronic opioid use (not to mention to improve her health). The MRC

maintained her disability status and paid her until May 31, 2014, but then denied the

determination going forward. The rational for the MRC’s decision was set forth in a twenty-one

(21) page letter that summarized the record as of that date. Ex. H, June 12, 2014, MRC Denial

Letter, FOX_AR_006309-006329. The MRC concluded that with the exception of her opioid

dependence, the medical evidence did not support a disabled status as to migraines and

fibromyalgia. Id., and Ex. B, Final Letter.

       Fox appealed the MRC decision via a letter dated December 12, 2014, to the Program’s

Claims Appeal Committee (“CAC”). Ex. I, December 12, 2014 O’Rourke Letter,

FOX_AR_004577-004580. The CAC evaluated all of the information reviewed by the MRC, as

well as updated records, the opinions of three additional Board-certified physicians who

examined Fox, video surveillance, and new material submitted by Fox in her December 2014,

letter. The CAC upheld the denial determination in a nine-page (9) letter dated May 15, 2015.

Ex. J, May 15, 2015, CAC Denial Letter, FOX_AR_006299-006308. The CAC likewise

concluded that the medical evidence did not support a disability determination. Id. The basis of


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the decision was on the record, and not in reaction to Fox’s decision to decline opioid

detoxification treatment. Id, p. 5, FOX_AR_006303 (“The MRC noted, and the CAC concurs,

that there was nothing in the records, evaluations and objective diagnostics from the treating

physicians to reflect any underlying condition of sufficient severity to result in disability.”). The

CAC noted, for example, physician opinion’s that her “complaints are largely subjective and

based on her history as self-reported.” Id., p. 2.

       Fox initiated her second appeal in a letter dated November 10, 2015, to the NEBC

Assistant Secretary, who is responsible for final appeals. Ex. K, Final Letter, p. 4,

FOX_AR_003789-003794. Fox then submitted even more information and medical reports in

connection with that appeal. Ex. K, Final Letter, p. 2. The NEBC Ass’t Secretary (Sharon L.

Keyes, R.N., M.S.) likewise elicited even more data as well, including yet another peer review

by a board-certified physician and a vocational assessment report. Id. The Ass’t Secretary

affirmed the denial and issued a 19-page letter that outlined the entire history of Fox’s claim,

summarized the basis for the MRC denial, summarized the basis for the CAC denial, identified

all of the medical evidence that had been received and reviewed, and rebutted the various

arguments that Fox’s counsel had lodged in his previous correspondence. Id. The Final Letter is

the roadmap for the Program’s decision.

       Ms. Fox filed suit on December 29, 2016, apparently based on Section 502(a) of ERISA.

Complaint, Doc #1. The sole claim is for denial of benefits. Id. The parties obtained and

exchanged the FOX AR and the Court set a briefing schedule. The “parties agree that Wilkins v.

Baptist Healthcare Systems, Inc., 150 F.3d 609 (6th Cir. 1998) applies and that the matter will be

determined upon submission of cross motions for judgment on the record.” Joint Status Report,

Doc. #9, Pg. ID 24.


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        There are no threshold or procedural issues for the Court to consider. Thus, this matter is

ripe for a decision on the merits.

III.    STANDARD OF REVIEW

        A denial of benefits challenged under ERISA is subject to the arbitrary and capricious

standard where, as here, the benefits program gives the administrator discretionary authority in

interpreting the program. Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101, 115 (1989);

Miller v. Metro. Life Ins. Co., 925 F.2d 979, 983 (6th Cir. 1991) (citing Firestone, 489 U.S. at

115).   The applicable Program documents here grant the Program administrators complete

discretion. In fact, this point is emphasized repeatedly. Ex. F, Program Documents, ¶1.4 p. 3,

(section regarding “Administration”) and ¶6.5 p. 48 (section regarding “Claims Process”),

FOX_AR_000001-000068; see also Ex. E, Summary Description, p., 8 (“Participant

Obligations”), FOX_AR_000096-000134.

        “The arbitrary or capricious standard is the least demanding form of judicial review of

administrative action.” Davis By & Through Farmers Bank & Capital Trust Co. of Frankfort,

Ky. v. Ky. Fin. Cos. Retirement Plan, 887 F.2d 689, 693 (6th Cir. 1989) (quoting Pokratz v. Jones

Dairy Farm, 771 F.2d 206, 209 (7th Cir. 1985)). Under this standard, the determination of an

administrator will be upheld if it is “rational in light of the plan’s provision.” McClain v. Eaton

Corp. Disability Plan, 740 F.3d 1059, 1064 (6th Cir. 2014) (quoting Marks v. Newcourt Credit

Grp., Inc., 342 F.3d 444, 457 (6th Cir. 2003)). This means that a claim administrator’s decision

is not arbitrary and capricious if it “is based on a reasonable interpretation of the plan.” Shelby

Cnty. Health Care Corp. v. S. Council of Indus. Workers Health & Welfare Trust Fund, 203 F.3d

926, 933-34 (6th Cir. 2000). Moreover, a “decision reviewed according to the arbitrary and

capricious standard must be upheld if it results from a deliberate principled reasoning process

and is supported by substantial evidence.” McClain, 740 F.3d at 1064. (quoting Schwalm v.
                                                8
Guardian Life Ins. Co. of Am., 626 F.3d 299, 308 (6th Cir. 2010) (internal quotation marks

omitted). The Court must review “the quantity and quality of the medical evidence and the

opinions on both sides of the issue” to determine whether a reasoned explanation exists to

support an administrator’s decision. McDonald v. W.-S. Life Ins. Co., 347 F.3d 161, 172 (6th Cir.

2003).

          What this means in practice is that this lawsuit is not meant to be a re-do of the Program’s

decision-making, but rather a check on the process that led to it. The idea is not to give Fox a

shot at changing the decision merely by changing the decision-maker. Rather she must prove

that something went awry in the appeal process. And the standard does not require that the Court

personally agree with all of the factual support for the decision in order to uphold it. One could

conclude that he or she would have weighed facts differently had they been in Program

administrators’ place, yet likewise conclude that Fox has failed to prove the decision is arbitrary

and capricious. That is because reasonable minds can differ relative to a decision, and yet

neither side’s viewpoint is so deficient as to be deemed “arbitrary and capricious” and contrary

to law.

IV.       ARGUMENT

          ERISA program document provisions that place the burden on the claimant to prove the

existence of a disability based on objective medical evidence are legitimate and enforced by

courts. Indeed, courts affirm claim denials where the claimant’s symptoms are subjective and

self-reported and yet there is an absence of objective, supporting medical support. See e.g.,

Huffaker v. Metropolitan Life Ins. Co., 271 Fed.Appx. 493 (6th Cir. 2008) (denial of claim based

fibromyalgia symptoms was not arbitrary and capricious where the claimant failed to persuade

the plan with objective medical evidence); Blount v. United of Omaha Life Ins. Co., 2016 WL

4191725, *5 (M.D. Tenn., August 8, 2016) (affirming denial where claimant’s record did not
                                                   9
establish objective proof of a disability based on a lupus diagnosis and instead, several

physicians believed that her symptoms were potentially linked to “aggressive opioid use”). That

is the situation we have here; as explained below, Fox reported symptoms of pain due to

migraines and fibromyalgia, but failed to carry her burden of providing persuasive objective

proof that these conditions prevented her from working as a Customer Service Representative or

in a comparably compensated position.

       The issues are addressed in three sections. First, in Section IV(A), we demonstrate that

the Program’s decision-making was thorough and that Fox was given every benefit of the doubt

in this process. Next, in Section IV(B), we highlight how the record overwhelmingly undercuts

Fox’s claim that she is disabled due to migraines and fibromyalgia. And finally, in Section

IV(C), we explain the fallacy of her arguments that the Program erred by not accepting the

opinion of her treating physician and by allegedly trying to “dictate” treatment.

       A.      The Decision-Making Was Thorough, Transparent, And Consistent With All
               Program Requirements.

       The Program administrators afforded Fox all of her rights under the appeal process and

she fully availed herself of the opportunities, resulting in an extraordinarily fulsome record. Ex.

B, Final Letter. The FOX_AR itself consists of 7,353 pages of documents, taking up two bankers

boxes when printed. It includes medical records from physicians that treated or consulted with

Fox, IME and file review reports, numerous letters between the Program and Fox or her attorney,

diagnostic and lab reports, physician notes, correspondence from Fox’s primary treating

physician, video surveillance, and a vocational assessment report. See Final Letter, and

FOX_AR. And the Program made its final decision only after considering opinions or materials

gleaned from twenty-one (21) medical professionals. This included her treating physician, Dr. L.

Robert McElmurry, plus information from twelve (12) specialists who evaluated Ms. Fox from

                                                10
2011 through 2015. Ex. B, Final Letter, pp 7-12. Additionally, the Program considered the

opinions of three (3) physicians who conducted independent medical examinations (“IMEs”) of

Fox personally, and then five (5) additional file reviews by other physicians, all in connection

with her LTD claim. Id.       The IMEs and file reviews were conducted by specialists in

occupational   medicine,   neurology,     forensic   and   addiction   psychiatry,   rehabilitation,

musculoskeletal, and pain medicine. Id.

       And there is no dispute that Program decision-makers drilled into the FOX_AR in

considerable detail. The MRC, CAC and Ass’t Secretary decisions all highlight nuanced details

that could be discerned only upon an exhaustive review of the underlying materials. Just by way

of example, the Final Letter articulates the concerns of physicians that Fox’s real problems could

arise from her opioid dependency, and in that regard, it lists each date that Fox’s treating

physician (Dr. McElmurry) gave her injections of Demerol and Phenergan or Nubain and

Phenergan from April 2014 through March 2016. Ex. B, p. 5 (noting 126 injections of Demerol

and 99 injections of Nubain). The Program administrators looked at this matter backward and

forward.

       It likewise is beyond dispute that the Program considered evidence that Fox herself

submitted. This was not a one-time event; rather, at each stage of the appeal process, she

supplied new materials that the Program accepted and reviewed. Ex. H, MRC Denial Letter,

(“You also submitted additional materials, which the MRC reviewed”); Ex. J, CAC Denial

Letter, pp. 2-3 (identifying new information she submitted after the MRC denial and in relation

to her appeal to the CAC); and Ex. B, Final Letter, p 4 (noting that with final appeal she

submitted a new letter from Dr. McElmurry, and additional and updated medical records).




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       Finally, the Program was transparent about what it reviewed and considered. Program

representatives sent her the file material they gathered, and her attorney had the opportunity - of

which he repeatedly availed himself - to comment on the evidence during the appeal process.

See Exs. H, J, and B (MRC, CAC, and Final Letter); see also, Ltrs from Fox’s attorney

(FOX_AR_004577-004580; FOX_AR_003643-003644; FOX_AR_003683; and FOX_AR-

003789-003794).

       In sum, this is not a case where Fox credibly could argue the Program failed to follow its

process, declined to consider evidence, or made the decision in haste based on incomplete data.

Plaintiff is therefore left with the uphill climb of arguing the ultimate merits of the decision itself

was arbitrary and capricious- in other words, it is not rational based on the program document’s

provisions. As described in more detail below, Plaintiff cannot meet this burden.

       B.      The Administrative Record Does Not Support Plaintiff’s Position.

       Plaintiff had the burden to establish through objective evidence that she was unable to

work due to debilitating migraines and fibromyalgia. With the lone exception of her treating

physician’s opinion (discussed in Section IV(C), supra), there is virtually no evidence in the

record to support her position.

       The crux of Plaintiff’s claimed disability – pain – is based on subjective and self-reported

symptoms. That means that physicians necessarily must look beyond her own characterization to

discern the existence of an underlying disability. Here, no one disputes that she presented to

various physicians over the years with various pain-related symptoms. See e.g., Ex. L, Dr. Seidel

Evaluation, December 5, 2013, FOX_AR_006622-006633. Yet conditions associated with

chronic and debilitating pain are knowable to experts in the field, and in this instance, there was

insufficient objective evidence to find a disability due to migraines and fibromyalgia.



                                                 12
       A prime example is the opinion of Dr. Paola M. P. Seidel, M.D., FAAPRM, an assistant

professor at Wayne State University and a specialist in musculoskeletal medicine. Dr. Seidel

conducted a thorough physical evaluation of Fox and of her medical records in December 2013

in relation to the fibromyalgia claim.    Ex. L, Dr. Seidel Evaluation, December 5, 2013,

FOX_AR_006622-006633.         Dr. Seidel’s examination revealed a fundamental disconnect

between Fox’s claimed symptoms and a true diagnosis of fibromyalgia. Dr. Seidel states in the

report as follows:

       She also doesn’t present with a clinical picture consistent with fibromyalgia.
       Fibromyalgia is a condition characterized by multiple tender points and is often
       accompanied by skin fold tenderness, cutaneious hyperemia, reticular skin
       discoloration, abnormal sleep patterns, fatigue and IBS. It does NOT present with
       the total body pain noted in this diffuse fashion. *** The degree of pressure to
       illicit painful symptoms in Ms. Fox was much lighter than is typical in cases of
       fibromyalgia. Light touch does not illicit pain in patients manifesting symptoms
       of this syndrome. *** Ms. Fox’s complaints present much more diffusely and
       include tissues not consistent with this diagnosis.

Ex. L, Dr. Seidel Evaluation, pp 11-12. And contrary to the assertion that Fox cannot work or be

active, Dr. Seidel determined that increased physical activity was precisely what Fox needed and

that it was achievable. Id., p. 12 (“It should be emphasized that while she may experience

complaints of pain, she is physically capable of much greater activity and must work to both

preserve and improve her function”).

       Two other physicians likewise conducted IMEs and did not find a disability but instead

discovered an unfortunate fact – that Fox’s own physician had been treating her inappropriately

with unnecessary opioids that caused many of the issues of which Fox complained. One was Dr.

Norman S. Miller, M.D., a forensic addiction psychiatrist, who conducted a physical examination

of Fox in September 2013. He also considered her medication history, and noted her use of

Meloxicam, Cymbalta, Ambien, Amitriptyline, Vicodin, Flovent, Benadryl, and Demerol. Ex.


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M, Miller Evaluation, September 20, 2013, p.4, FOX_AR_006894-006899. He determined that

Fox suffered from opioid dependence and, more importantly, that specific medications Fox takes

actually induce hyperalgesia, which is the heightened sensitivity to pain. Id. at p. 6. He opined

that if she were to detoxify her mood would improve, her pain would decrease, migraine

frequency would assume a tolerable level, and she could work. Id.

       A third IME by a board-eligible specialist in occupational medicine is consistent with

these findings. Dr. Charles Syrjamaki, M.D., did a physical examination and likewise was

alarmed by her medication history, including that she received Demerol and Phenergan

injections on the average of 4 times a week for years. Ex. N, Syrjamaki Evaluation, March 25,

2013, FOX_AR_007112-007115. Dr. Syrjamaki opined that the “major problems Ms. Fox has at

this time are headaches related to her overmedication, especially the use of narcotics.” Id., p. 3.

He found that Fox’s treating physician’s (Dr. McElmurry) practice of giving Fox parenteral

narcotic injections was “extremely inappropriate” and that but-for her drug dependence, her

headaches would resolve. Id. The problem, according to Dr. Syrjamaki, is that such medications

create what is called a “rebound headache.” Id. Dr. Syrjamaki was so alarmed that he expressly

opined that Fox should no longer treat with Dr. McElmurry at all. Id., p. 4. But regardless, Dr.

Syrjamaki believed that Fox should be weaned off her drug dependency and is fully capable of

doing her job as a customer service representative. Id.

       Of note, the Program has an exclusion for any disabilities due to “illegal drugs usage (i.e.,

wrongful use of illegal drugs, prescription drugs or controlled substances).” Ex. E, Summary

Description, p., 8 (“Exclusions”), FOX_AR_000096-000134).             Here, although the Program

denied the claim based on Plaintiff’s failure to satisfy her burden to show a disability in the first

place (see Final Letter), clearly this exclusion ultimately could have been salient too given her


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history of using prescription narcotics that were not medically necessary for her claimed

problems.

       Additionally, multiple experts who reviewed her file in connection with the Program

claim review process concurred that she was not disabled, regardless of whether her symptoms

were related to opioid usage or not:

      Dr. Cathy Helgason, M.D., a board-certified specialist in neurology, reviewed Fox’s file
       in July 2013, and also communicated directly with Fox’s treating physician. Ex. O,
       Helgason Evaluation, July 22, 2013, FOX_AR_007051-007055. She opined that without
       neurologic deficit and with twice a week migraines, Fox does not have an impairment in
       her ability to perform her core employment duties. Id. She likewise believed that an
       underlying cause of the migraines was “rebound headaches” due to inappropriate
       prescriptions. Id.

      Dr. Gilberto Munoz, M.D., M.P.H., a specialist in environmental and occupational
       medicine, and professor at the University of Illinois, reviewed Fox’s file and spoke with a
       rheumatologist who had been treating her. Ex. P, Munoz Evaluation, July 22, 2013,
       FOX_AR_006904. Dr. Munoz initially did his review in September 2013, but also
       considered new video evidence of Fox in June 2014. He concluded that based on the
       medical evidence to date, as well as the video evidence showing Fox walking and driving
       normally, there is insufficient medical evidence to support severity of symptoms. Id.

      Dr. Howard S. Konowitz, M.D., a board-certified musculoskeletal specialist evaluated
       Fox’s entire file as of April 2014. Ex. Q, Konowitz Evaluation, July 22, 2013,
       FOX_AR_006822-006832. After reviewing all of her history and symptoms, he opined
       that there was no compelling evidence of a medical impairments that would prevent her
       from carrying out daily living activities and to sustain employment. In fact, he concluded
       that returning to work and receiving counseling and detoxification might improve Fox’s
       progress. Id.

      Michael L. Fox, D.O., FASM, Medical Director of the Dependency Unit at St. Mary
       Mercy Hospital in Detroit, reviewed Fox’ file in February 2015. Ex. R, Fox Evaluation,
       July 22, 2013, FOX_AR_004229-004239. He looked at everything gathered to date, and
       noted no medical impairments beyond Fox’s subjective complaints of pain. He likewise
       noted that to feel better, Fox needed to stop her intake of narcotics. Id.


       These opinions were noted by the Program upon making the final denial decision. Ex. B,

Final Letter. The Program likewise evaluated the records and any opinions from the various

specialists who had treated or seen Fox over the years. Id., pp. 7-9. Of these latter twelve

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professionals, which included specialists in many disciplines, only one expressed an opinion that

Fox was disabled. That individual was John McPhail, M.A., L.P.C., who is not a physician, but a

counselor who apparently saw her “several times” and concluded that she was severely

debilitated and limited in carrying out significant cognitive tasks. Id., p. 8. The NEBC Assistant

Secretary noted that there no notes or treatment records to support Mr. McPhail’s views. Id.

       Finally, given Plaintiff’s burden to prove she cannot work in a comparably compensated

occupation even aside from her previous job, the Program solicited the opinions of a vocational

expert who conducted a “Transfer Skills Analysis Wage Earning Capacity Evaluation.” See Ex.

B, May 6, 2016, Report, FOX AR 286-294. The vocational assessment concluded that her

position at BCBSM was classified as “sedentary” work involving low physical exertion with

only brief periods of standing. Id., p. 2. The report identified comparable types of positions, as

well as specific jobs available as of June 1, 2014, and again as of June 1, 2016. Id.

       Based on this record, there can be no dispute that a “reasoned explanation” exists for the

Program’s decision.    McDonald v. W.-S. Life Ins. Co., 347 F.3d 161, 172 (6th Cir. 2003)

(decision not arbitrary and capricious if a reasoned explanation exists to support it). Indeed, with

the exception of the opinion of Dr. McElmurry (discussed below) the Fox Administrative Record

is virtually devoid of any objective medical evidence to support Fox’s argument that she is

medically disabled due to migraines and fibromyalgia. At best, she has had ongoing, but

manageable, headaches and other pain-related symptoms that do not prevent her from working.

And even so, there is a strong medical consensus among the physicians that have treated and/or

reviewed her history that her primary medical concern is opioid dependency.

       C.      Plaintiff’s Arguments Are Unavailing.

       Plaintiff contends primarily that the Program erred by (1) failing to accept the opinions of

Dr. McElmurry, and (2) supposedly seeking to require her to attend detoxification treatment.
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Neither argument is accurate, nor establishes that she carried her overall burden of proof in any

event.

               1.      Plaintiff’s treating physician, Dr. Robert L. McElmurry, is an outlier.

         Dr. McElmurry treated Plaintiff for an extended period of time, and coordinated her

overall care. And that may be part of the problem. As noted above, several physicians

independently concluded that Fox is dependent on the narcotics Dr. McElmurry prescribed or

injects, that the drugs are not appropriate as treatment for the conditions of which Fox complains

and, in fact, that the drugs themselves likely are causing heightened sensitivity to pain. Even

worse, the Program administrators discerned that Dr. McElmurry unfortunately did not consider

Demerol to be an opioid, despite the obvious medical consensus to the contrary. Ex. B, Final

Letter, p. 5, citing FDA findings. These facts alone provide a reasonable basis for the Program

to decline to accept at face value his opinion of a “disability.”

         Nonetheless, the Program went above and beyond in attempting to consider Dr.

McElmurry’s treatment and his opinions. After the CAC had denied Fox’s appeal of the MRC

decision, the NEBC Assistant Secretary retained yet another physician to conduct one last

evaluation and to review Dr. McElmurry’s records page-by-page. Ex. B, Final Letter, p. 12-14.

Dr. David Hoenig, M.D., who is board certified in Psychiatry and Neurology, reviewed Fox’s

entire file in April 2016, spoke with Dr. McElmurry on the telephone, and considered additional

information that Fox’s attorney supplied at that time. Id., p. 12. Dr. Hoenig concluded that, from

a neurological perspective, there was no objective medical evidence to support a finding that Fox

could not sustain employment. Ex. S, Hoenig Evaluation, FOX_AR_000460-000498. He also

went through Dr. McElmurry’s progress notes page-by-page to try and understand his treatment

and views. The notes often were difficult to read, or were so rudimentary as to be meaningless.

For example, Dr. Hoenig found that for months on end until June 2014, Dr. McElmurry’s “plan”
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was simply to administer intramuscular Demerol and Phenergan injections for migraines and

fibromyalgia. Ex. B, Final Letter, p. 4. Put simply, nothing in Dr. McElmurry’s notes shed light

on, or otherwise support, the view that Fox is truly disabled. The Program was within its rights

to question Dr. McElmurry’s views in light all of this.

       But even if his treatment had been appropriate and his record-keeping sound, it was not

arbitrary and capricious to reject Dr. McElmurry’s opinion. It is settled that ERISA plans are not

bound by the opinions of a participant’s treating physician. Whitaker v. Harford Life and Acc.

Ins. Co., 404 F.3d 947 (6th Cir. 2005) (citing Black & Decker Disability Plan v. Nord, 538 U.S.

822, 123 S.Ct. 1965, 155 L.Ed.2d 1034 (2003). They may instead rely on physician opinions

retained to conduct examinations, even when those physicians disagree as to the existence of a

disability. Huffaker v. Metropolitan Life Ins. Co., 271 Fed.Appx. 493 (6th Cir. 2008) (not

arbitrary and capricious for plan to rely on opinions other than the treating physician); Wooden v.

Alcoa, Inc., 511 Fed.Appx. 477 (6th Cir. 2013) (proper to credit the opinions of multiple

physicians over the plaintiff’s treating physician in denying a claim). This is consistent with the

principle that a court must accept an administrator’s rational decision, if it is not arbitrary or

capricious, even in the face of an equally rational interpretation of a plan offered by a participant.

Gismondi v. United Techs. Corp., 408 F.3d 295, 298 (6th Cir. 2005) (citing Morgan v. SKF USA,

Inc., 385 F.3d 989, 992 (6th Cir. 2004)). Here, the fact that Dr. McElmurry was the lone

physician to opine as to a disability in the face of overwhelming contrary evidence is a sufficient

and legitimate reason to reject his opinion.

               2.      The Program did not dictate treatment.

       Plaintiff also argues that the Program erred by allegedly seeking to link future disability

benefits to her attending a detoxification program. She asserts that the Program must simply



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determine whether a disability exists based on the information presented to it, and not tell her

what treatment she should be receiving.

       This argument is a red herring.     It misconstrues what the Program was seeking to

accomplish when recommending drug treatment, but fails in any event to address the

fundamental problem here, which is that Fox did not carry her burden of proving through

objective medical evidence that she was disabled due to migraines and fibromyalgia. Both points

are discussed below.

       The MRC concluded as of February 5, 2014, that the record did not support a continued

finding of a disability. Ex. G, February 5, 2014 MRC Letter, FOX_AR_006374-006383. But it

also noted the obvious – that physicians had determined that Fox’s drug dependency was the

cause of certain pain symptoms in the first place. Id. To give her the benefit of the doubt, the

Program initially advised that she should attend detoxification and said it would reevaluate her

status following such treatment. Id. Clearly, the goal was to allow the Program to gather

additional information from which it could make decisions; this is exactly what it is allowed to

do and does do, in fact, when seeking IMEs and file reviews. Yet, Fox now conflates the notion

of “dictating” treatment for her symptoms with seeking to determine whether detoxification

would alleviate those symptoms, and thereby help reveal (or not) the existence of a certain

medical conditions in the first place. Fox chose not to attend detoxification. That was her

prerogative. But there was nothing wrong with the Program reacting to information about her

drug dependency and seeking to further understand it in the overall assessment. See e.g., Ex. E,

Summary Description, p., 8 (“Participant Obligations”), FOX_AR_000096-000134 (noting,

among other things, that participants must “cooperate fully in undergoing or submitting to tests

or examinations requested by the Program Administrator”).


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       She also ignores two fundamental points by focusing on this issue at the MRC level.

First, she sidesteps the fact that regardless of the detoxification recommendation, the overall

record did not support a finding of a disability when the MRC made its decision in the Spring of

2014. Put differently, if the MRC’s detoxification recommendation never happened, that does

not mean Plaintiff would have somehow carried her burden of proof. The overall record as

described above makes that clear. The detoxification recommendation was meant as a further

diagnostic tool under the circumstances; but take it away and one is still left with a record that

does not support Fox.

       Second, she ignores that the final appellate decision had nothing to do with whether she

attended detoxification or not. The ultimate issue in an ERISA denial case is not whether

discrete acts by the plan administrator are arbitrary and capricious but whether the ultimate

decision denying benefits was arbitrary and capricious. See Spangler v. Lockheed Martin Energy

Sys., Inc., F3d 356, 362 (6th Cir. 2002) (reversal of denial was justified based on the overall

record and not simply on the specific flaw of failing to provide the file reviewer with all material

information); Blount v. United of Omaha Life Ins. Co., 2016 WL 4191725, *5 (M.D. Tenn.,

August 8, 2016) (citing Spangler and rejecting notion that plan administrator was required to

have different or more specific language in its plan when the overall record supported the

denial). Here, following the MRC, the first appeal decision at the CAC was based on the overall

record and the fact that Fox failed to carry her burden, not in reaction to Fox’s decision to

decline detox treatment. Ex. J, May 15, 2015, CAC Denial Letter, FOX_AR_006299-006308.

The same is true with the second, and final determination by the NEBC Assistant Secretary. Ex.

B, Final Letter. And neither was a proverbial “rubber stamp,” such that one credibly could argue

that they perpetuated some perceived error by the MRC. To the contrary, both the CAC and the


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Assistant Secretary considered additional evidence that had been gathered after the MRC made

its initial decision. Id. For all of these reasons, the Court should reject Fox’s argument premised

on the notion that the Program sought to “dictate” treatment.

V.     CONCLUSION

       Plaintiff cannot satisfy her burden of showing that the Program administrator’s decision

was arbitrary and capricious given the Administrative Record in this case. The Court should

enter judgment in Defendant’s favor.

                                             Respectfully submitted,

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DATED:         August 31, 2017




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on August 31, 2017, my assistant electronically filed the foregoing

document with the Clerk of the Court using the ECF system, which will send notification of such

filing to all counsel of record.


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